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  HMJ:hcs
  AO 91 (Rev. 11/11) Criminal Complaint                                                           2025R00345

                                          UNITED STATES DISTRICT COURT
                                                     for the
                                                 District of Minnesota

     UNITED STATES OF AMERICA
                                                              Case No. 25-mj-376 (JFD)
             v.                                              FILED UNDER SEAL PURSUANT TO
                                                             COURT ORDER
     VANCE LUTHER BOELTER


                                              CRIMINAL COMPLAINT

     I, the undersigned complainant, being duly sworn, state the following is true and correct to the best of

my knowledge and belief.

                                                  COUNT ONE
                            (Stalking of Melissa Hortman – Use of Interstate Facilities)

       On or about June 14, 2025, in the State and District of Minnesota and elsewhere, VANCE LUTHER

BOELTER, the defendant, with the intent to kill, injure, harass, intimidate, and place under surveillance

with intent to kill, injure, harass, and intimidate another person, used an interactive computer service,

electronic communication service, and electronic communication system of interstate commerce, and a facility

of interstate or foreign commerce, to engage in a course of conduct that placed that person in a reasonable

fear of the death of and serious bodily injury to that person and that person’s spouse, and in the course of

engaging in such conduct caused the death of that person and that person’s spouse, to wit, BOELTER used a

GPS navigation system, interstate wires, and the Internet to plan and carry out the stalking, shooting, and

killing of Melissa Hortman and Mark Hortman in Brooklyn Park, Minnesota, all in violation of Title 18,

United States Code, Sections 2261A(2)(A) and 2261(b)(1).

                                                  COUNT TWO
                              (Stalking of John Hoffman – Use of Interstate Facilities)

       On or about June 14, 2025, in the State and District of Minnesota and elsewhere, VANCE LUTHER

BOELTER, the defendant, with the intent to kill, injure, harass, intimidate, and place under surveillance

with intent to kill, injure, harass, and intimidate another person, used an interactive computer service,

electronic communication service, and electronic communication system of interstate commerce, and a facility

of interstate or foreign commerce, to engage in a course of conduct that placed that person in a reasonable

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